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16                             UNITED STATES DISTRICT COURT
17                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                  SAN FRANCISCO DIVISION
18
   IN RE META PIXEL HEALTHCARE
19 LITIGATION
                                                        Case No. 3:22-cv-3580-WHO (VKD)
20 This Document Relates to:                            ORDER GRANTING
                                                        STIPULATED MOTION FOR
21                                                      RELIEF FROM DEADLINE IN DKT.
     All Actions.                                       850
22
                                                        CLASS ACTION
23
                                                        The Honorable Virginia K. DeMarchi
24
                                                         Re: Dkt. No. 897
25

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              STIPULATED MOTION FOR RELIEF FROM DEADLINE IN DKT. 850 - 1
                           Case No. 3:22-cv-3580-WHO (VKD)
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 1                                         STIPULATED MOTION
 2         On January 15, 2025, the Court ordered Plaintiffs to serve their 30(b)(6) deposition notice
 3 by the following week and that “[t]he parties shall promptly confer regarding disagreements

 4 regarding the topics in Plaintiffs’ Rule 30(b)(6) deposition notice.” Dkt. 772.

 5         Plaintiffs served their 30(b)(6) deposition notices on January 20, 2025 and January 24,
 6 2025.

 7         On February 18, 2025, the Court ordered that “[a]ny dispute about plaintiffs’ Rule
 8 30(b)(6) deposition notice to Meta must be submitted for resolution no later than March 11,

 9 2025.” Dkt. 850.

10         On February 12 and February 14, 2025, the parties informally discussed some of Meta’s
11 concerns as to the 30(b)(6) notices.

12         Meta served objections to Plaintiffs’ 30(b)(6) notices on March 10, 2025.
13         In order to ensure that the parties are able to fully discuss their disputes before seeking
14 relief from the Court, while at the same time recognizing the goals of Dkt. 850 to prevent delay,

15 the parties jointly move pursuant to Rule 26 and the Court’s inherent power to control the case

16 schedule that the Court enter the following order:

17         1. The deadline for the parties to submit any disputes about Plaintiffs’ Notices of
18             30(b)(6) deposition shall be extended to March 20, 2025.
19         2. At least one member of each party’s lead counsel team must attend a final meet-and-
20             confer concerning Meta’s 30(b)(6) objections by March 14, 2025.
21         3. Plaintiffs must send Meta any draft joint letter briefs on any 30(b)(6) issues remaining
22             after this conference by March 17, 2025.
23         4. Meta must return its response(s) to Plaintiffs by March 19, 2025 for filing on March
24             20, 2025.
25         5. If either party fails to meet any of these deadlines, the other party may file a unilateral
26             motion for appropriate relief as to the 30(b)(6) deposition.
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             STIPULATED MOTION FOR RELIEF FROM DEADLINE IN DKT. 850 - 2
                          Case No. 3:22-cv-3580-WHO (VKD)
          Case 3:22-cv-03580-WHO           Document 898        Filed 03/12/25     Page 3 of 4



 1                                 SIGNATURE ATTESTATION
 2         The CM/ECF user filing this paper attests that concurrence in its filing has been obtained
 3 from its other signatories.

 4
           RESPECTFULLY SUBMITTED AND DATED this 11th day of March, 2025.
 5

 6   By: /s/        Jason ‘Jay’ Barnes               By: /s/        Lauren R. Goldman
                   Jason ‘Jay’ Barnes                              Lauren R. Goldman
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               STIPULATED MOTION FOR RELIEF FROM DEADLINE IN DKT. 850 - 3
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 7   PURSUANT TO STIPULATION, IT IS SO ORDERED.
 8   Dated: March 12, 2025
 9                                           __________________________ ___

10                                                Virginia K. DeMarchi
11                                             United States Magistrate Judge

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            STIPULATED MOTION FOR RELIEF FROM DEADLINE IN DKT. 850 - 4
                         Case No. 3:22-cv-3580-WHO (VKD)
